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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

EMOJI COMPANY GmbH,              )
                                 )
                                 ) Case No. 22-cv-6862
     Plaintiff,                  )
                                 )
v.                               )
                                 ) Hon. Steven C. Seeger
THE INDIVIDUALS, CORPORATIONS,   )
LIMITED LIABILITY COMPANIES,     )
PARTNERSHIPS, AND UNINCORPORATED )
ASSOCIATIONS IDENTIFIED ON       )
SCHEDULE A HERETO,               )
                                 )
                                 )
     Defendants.                 )

                       PLAINTIFF’S EX-PARTE MOTION TO
                  EXTEND THE TEMPORARY RESTRAINING ORDER

       Pursuant to Federal Rule of Civil Procedure 65(b)(2), Plaintiff EMOJI COMPANY GmbH

seeks to extend the Temporary Restraining Order entered by the Court on August 14, 2023 [Dkt.

28, 27] (“the TRO”) which is set to expire on August 28, 2023, for a period of fourteen (14) days

to and including September 11, 2023.


       Since entry of the TRO, Plaintiff has been working to ensure compliance with its terms

by third parties. In particular, Plaintiff promptly subpoenaed information concerning the

identities of defendants from third parties including Amazon, eBay, PayPal and Walmart, which

are in the process of complying. Plaintiff respectfully requests the Court to extend the TRO to

provide additional time for Amazon, eBay, PayPal and Walmart to comply with the terms

thereof.
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       Plaintiff submits that good cause exists for extending the TRO to prevent Defendants

from transferring assets from their U.S.-based financial accounts, modifying the names of their

internet stores, or removing their internet stores from their current platform, among other things,

as outlined in Plaintiff’s Memorandum in Support of Ex Parte Motion for a Temporary

Restraining Order [Dkt. 11]. This probability of harm is significant and continuing.


       Wherefore, Plaintiff requests that the TRO be extended for a period of fourteen (14) days

to and including September 11, 2023.


                                      Respectfully submitted,


Dated: August 24, 2023                By:    s/ Michael A. Hierl                _
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                                               EMOJI COMPANY GmbH
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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing

Plaintiff’s Ex-Parte Motion to Extend the Temporary Restraining Order was filed electronically

with the Clerk of the Court and served on all counsel of record and interested parties via the

CM/ECF system on August 24, 2023.


                                                    s/Michael A. Hierl
